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Attorney for Defendant




                     IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA


 GAIL WATSON-JOE and WALLACE                ) Case No. 3:10-cv-00124-HRH
 JOE, SR.,                                  )
                                            )
               Plaintiffs,                  )
                                            ) STIPULATION TO DISMISS
 v.                                         )
                                            )
 UNITED STATES OF AMERICA,                  )
                                            )
               Defendant.                   )
                                            )

       Plaintiffs Gail Watson-Joe and Wallace Joe, Sr., through counsel, and the

government, through counsel, stipulate to dismiss all claims in this action with prejudice,

with each party to bear its own costs and fees.




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         RESPECTFULLY SUBMITTED February 7, 2012 in Anchorage, Alaska.

                                                                KAREN L. LOEFFLER
                                                                United States Attorney

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                                                                POWER and BROWN, LLC

                                                                s/ Sean Brown     (consent)
                                                                Attorney for Plaintiff
                                                                P.O. Box 1809
                                                                Bethel, AK 99559
                                                                Phone: (907) 543-4700
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CERTIFICATE OF SERVICE

I hereby certify that on February 7, 2012,
a copy of the foregoing Stipulation was served electronically
on:

Sean Brown
Power and Brown LLC

s/ Gary M. Guarino




Joe v. United States
Case No. 3:10-cv-00124-HRH                                2



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